                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

Kenneth Hawkes
                   Plaintiff(s)

            v.                             CIVIL ACTION NO. 1:19-cv-11484-FDS



BSI Financial Services, Inc.
                    Defendant(s)


                            JUDGMENT IN A CIVIL CASE

Saylor U.S.D.J



      IT IS ORDERED AND ADJUDGED: Pursuant to the Order of this court on
      3/13/2020, Summary Judgment is GRANTED for the Defendant. This action is
      hereby dismissed.




                                                  ROBERT M. FARRELL
                                                  CLERK OF COURT



Dated: 3/13/2020
                                              By /s/ Taylor Halley
                                                 Deputy Clerk
